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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


EDWARD BANKS, et al.,

              Plaintiffs,

      v.                                            Civil Action No. 20-00849 (CKK)

QUINCY BOOTH, et al.,

              Defendants.


            NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2020 ORDER

       Pursuant to the Court’s Order of March 31, 2020 and the Minute Order of April 1, 2020,

defendants provide the following information and documents:

       1.   [A] list of the names of the approximately 94 inmates who have been sentenced
to misdemeanors and who Defendants are considering for release.

       Plaintiffs’ counsel acknowledged, in an email last evening, that they had received that list

in coordination with Judge McKenna’s Order issued in In re Sentenced Misdemeanants, No. 2020

CNC 000120 (Super. Ct. of D.C.). Because this is a public filing, that list will not be attached here.

Attached is the Department of Corrections (DOC) Good Time Credits Policy 4341.1B (as updated

by Change Notice on March 18, 2020 and April 1, 2020). On March 18, 2020, in response to the

COVID-19 Response Emergency Amendment Act of 2020, DOC doubled the number of good

time credits (GTC) eligible residents could receive each month from 10 to 20 credits. See March

18, 2020 Change Notice. Eligible residents could receive a maximum of 6 GTCs for good behavior

and 14 GTCs for participation in rehabilitation programs, work details, and special projects. See

id. Then, on March 30, 2020, DOC again modified its GTC policy to allow eligible residents to
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receive the maximum 20 GTCs each month simply for good behavior. See April 1, 2020 Change

Notice.

       2.      [T]he numbers of people who have been tested for COVID-19 and a break-
down of the identities of those individuals (such as inmates, visitors, etc.) and the results of
those tests; the date on which Defendants began testing people coming into the jails; the
number and a breakdown of the results of COVID-19 tests which have been done on those
who were incarcerated prior to the date on which Defendants began testing all incoming
inmates.

          DOC began screening inmates on March 13, 2020, and began testing inmates on March 15,

2020. DOC does not test visitors or staff. New residents are not tested upon entry to DOC’s

facilities consistent with World Health Organization (WHO), Centers for Disease Control (CDC)

and Department of Health (DOH) guidelines of not testing individuals unless they are

symptomatic. Six inmates have tested positive, 2 negative, and DOC is awaiting the results of 9

tests.

      3.     [A]ll relevant written procedures and practices concerning COVID-19; and
Defendants[’] process which is in place or will be put in place to allow legal counsel to
communicate with their clients electronically or by other means.

          Attached are the COVID-19 protocols of Unity Health Care (DOC’s contractor); DOC’s

COVID-19 screening protocol; Unity Health Care and DOC’s Pandemic Policy (2018, currently

being revised); DOC’s Pandemic Flu Plan (2009, currently being revised)1; and written guidance

to DOC’s Medical Director received from an epidemiologist at DOH on March 30, 2020. DOC

also provides regular updates on its website regarding COVID-19 measures. See

https://doc.dc.gov/page/coronavirus-prevention.

          To facilitate the legal calls of the residents in DOC’s custody, DOC’s case management

team allows residents to use their desk phones to make legal calls. Case management also entered

into an agreement with the Public Defender Service (PDS) regarding its residents’ legal calls. Each


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          This document is marked “Confidential,” so will be filed subsequently under seal.

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weekday morning, by 9:00 am, the case management office receives a list of requested legal calls

from PDS’s Deputy Trial Chief. The case management office then has all of the residents available

for their legal calls. Last Friday, however, DOC developed a new telephone system with its

telecommunication partners, where each resident is allowed to make a free, unrecorded and

unmonitored 10-minute call, each day, to the registered number of their attorney of record. The

new system removes the case management office from the process except for verifying the

attorneys’ numbers and ensuring that the numbers are uploaded into the new system. The case

management office has been uploading private attorneys’ numbers to the new system as they

receive them. On Tuesday, March 31, 2020, DOC learned that PDS’s list of attorney names and

numbers would not be ready until Friday, April 3, 2020. Despite this new process, the case

management office is making reasonable efforts to ensure that all inmates have access to legal

calls.

         With regard to video conferencing, DOC is hosting video/teleconferenced hearings in three

different areas for three different courts. DOC hosts hearings for the D.C. Superior Court, the U.S.

District Court for the District of Columbia, and the Maryland District Court. In accordance with a

meeting DOC had last week with Chief Judge Howell, each court has its own

video/teleconferencing module at DOC where residents can video conference with the court and

call their attorneys before and after their hearings. At times, there have been technology issues and

delays as facility staff have adjusted to new processes but, overall, DOC has transitioned from no

video or telephone court hearings in its facilities to three different areas with minimal problems.

DOC’s IT and operations staff are committed to increasing this capability.

Dated: April 1, 2020.                 Respectfully submitted,

                                      KARL A. RACINE
                                      Attorney General for the District of Columbia


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